Case 18-51740-grs          Doc 20        Filed 12/03/18            Entered 12/03/18 12:22:58             Desc Main
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                                                          Entered   2       10:55:33             Desc Main
                                          Document      Page 1 of 1



                                  UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF KENTUCKY
                                         LEXINGTON DIVISION

             INRE

             EASTERN AIR FLOW, L.L.C.                                              CASE NO. 18-51740

             DEBTOR(S)


                                   ORDER APPROVING APPEARANCE BY
                                  COUNSEL FOR THIS PARTICULAR CASE

                    This matter having come before the Court on the motion [ECF No . 17] of

             Benjamin Nicholas Hutnick, who is not admitted to practice in this Cowi but is an

             attorney in good standing in the US District Court for the District of Kansas, to appear

             and participate in the above-captioned case pro hac vice, and the Court being otherwise

             properly and sufficiently advised, it is ORDERED :

                    Counsel may appear and pai1icipate in this pai1icular case upon payment of the

             prescribed fee, accompanied by a copy of this Order, to the Clerk of the U.S. District

             Court, Eastern District of Kentucky, 101 Barr Street, Lexington, KY 40507 , pursu ant to

             Rule 83 .2 of the Joint Local Rules for the United States District Cou1is for the Eastern

             and Western Districts of Kentucky. Payment of the prescribed fee shall be made within

             14 days of the date of this Order. Failure to comply with this Order may result in motion

             [ECF No. 17] being denied, and any related filing by Benjamin Nicholas Hutnick may be

             stricken from the record.




  The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
  electronically entered by the Clerk in the official record of this case.



                                                       ,,   Sig~.ed,By; .   ..
                                                        · Gregory R. Schaaf
                                                            Bankruptcy Judge
                                                            Dated: Wednesday, November 21, 2018
                                                            (tnw)
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                                      Court Name: US DISTRICT COURT EDKY
                                      Division: 5
                                      Receipt Number: 5026636
                                      Cashier ID : jmclemor
                                      Transaction Date: 12/03/2018
                                      Payer Name: Berman and Rabin, PA
                                      PRO HOC VICE
                                       For: BENJAMIN N. HUTNICK
                                       Case/Party: D-KYE-5-07-FP-000001-001
                                       Amount:         $125.00
                                      CHECK
                                       Check/Money Order Num: 567027
                                       Amt Tendered: $125 .00
                                      Total Due:      1125.00
                                      Total Tendered: 125 .00
                                      Change Amt:      0.00
